     CASE 0:19-cv-01222-JRT-HB Document 143 Filed 11/13/19 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 IN RE CATTLE ANTITRUST                             Case No. 19-cv-1222-JRT-HB
 LITIGATION
                                               CARGILL, INCORPORATED AND
 This document relates to:                      CARGILL MEAT SOLUTIONS
                                                CORPORATION’S MOTION TO
 ALL CASES                                         DISMISS THE SECOND
                                              CONSOLIDATED AMENDED CLASS
                                                   ACTION COMPLAINT



      Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants

Cargill, Incorporated and Cargill Meat Solutions Corporation hereby move the Court for

an order dismissing with prejudice the Second Consolidated Amended Class Action

Complaint in the above-captioned action.

      This motion is supported by the Memorandum of Law in Support of Cargill,

Incorporated’s and Cargill Meat Solution Corporation’s Motion to Dismiss the Second

Consolidated Amended Class Action Complaint and all of the files, records, and

proceedings herein.

Dated: November 13, 2019                   GREENE ESPEL PLLP


                                           s/ Kathryn N. Hibbard
                                           Kathryn N. Hibbard, Reg. No. 0387155
                                           X. Kevin Zhao, Reg. No. 0391302
                                           222 S. Ninth Street, Suite 2200
                                           Minneapolis, MN 55402
                                           (612) 373-0830
                                           khibbard@greeneespel.com
                                           kzhao@greeneespel.com
CASE 0:19-cv-01222-JRT-HB Document 143 Filed 11/13/19 Page 2 of 2



                             Mark W. Ryan
                             Michael E. Lackey, Jr.
                             Nicole A. Saharsky
                             MAYER BROWN LLP
                             1999 K Street, NW
                             Washington, DC 20009
                             (202) 263-3338
                             mryan@mayerbrown.com
                             mlackey@mayerbrown.com
                             nsaharsky@mayerbrown.com
                             Admitted Pro Hac Vice

                             Counsel for Defendants Cargill, Incorporated
                             and Cargill Meat Solutions Corporation




                                2
